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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, REV. CLEE
 EARNEST LOWE, DR. ALICE
 WASHINGTON, STEVEN HARRIS, BLACK
 VOTERS MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,

                              Plaintiffs,             Civil Action No. 3:22-cv-00178
                                                      SDD-SDJ
 v.

 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,

                              Defendant.


                           [PROPOSED] SCHEDULING ORDER

       Having sought submissions from the parties for scheduling proposals in its February 8,

2024 Order, ECF No. 233, the Court HEREBY ORDERS as follows:

       In In re Landry, 83 F.4th 300 (5th Cir. 2023), the Fifth Circuit mandamus panel pointed to

Alabama’s process following the Supreme Court’s issuance of Merrill v. Milligan as an example

of “an adequate opportunity to accomplish a redistricting compliant with final judgment,”

highlighting that the court afforded the legislature six weeks from the Supreme Court’s remand.

Id. at 306 (“the Alabama court on remand from the Supreme Court afforded the state an adequate

opportunity to accomplish a redistricting compliant with final judgment”). That six-week period

was measured from the date of the Supreme Court’s order remanding the case, not the date of the

three-judge panel’s scheduling order. And the six-week period was not measured by number of

legislative session weeks—the total number of weeks from the date the decision was issued was

six, whereas the Legislature had only one week of session time. See Singleton v. Allen, No. 2:21-




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CV-1291-AMM, 2023 WL 5691156, at *2 (N.D. Ala. Sept. 5, 2023); Governor of Alabama,

Proclamation (June 27, 2023), https://perma.cc/D4F9-78VJ.

       The Court hereby enters the following schedule, which provides the Legislature with more

than six weeks from the date of this Court’s merits decision (issued on February 8, 2024) to pass

new state legislative maps:

           a. March 11, 2024: Deadline for Plaintiffs to serve proposed remedial maps on
              Defendants
           b. March 19, 2024: Deadline for Plaintiffs’ submission on proposed remedial
              maps (including supporting expert reports)
           c. March 25, 2024: Deadline for Legislature to enact state House and Senate maps
              that are compliant with the Court’s February 8, 2024 Order
           d. March 27, 2024: Deadline for Plaintiffs to notify Court whether they oppose the
              new enacted maps, if any
           e. March 29, 2024: Deadline for Defendants’ opposition to Plaintiffs’ maps
              (including rebuttal reports), and Defendants’ submission on proposed remedial
              maps (including any supporting expert reports)
           f. April 4, 2024: Deadline for Plaintiffs’ opposition to Defendants’ maps (including
              rebuttal reports)
           g. April 10, 2024: Remedial hearing


       Signed in Baton Rouge, Louisiana, this ____ day of __________________, 2024.




                              ___________________________________
                                    Chief Judge Shelly D. Dick




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